Case 4:03-cv-04146-LLP Document12 Filed 03/31/04 Page 1 of 4 PagelD #: 146

UNITED STATES DISTRICT COURT maR 3 1 2004
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION ,
CLIK

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*

JAMES G. ABOUREZK, * CIV. #03-4146
a
Plaintiff, *
*
VS. * DEFENDANT PROBUSH.COM’S
* ANSWER AND JURY TRIAL DEMAND
PROBUSH.COM, INC., a Pennsylvania *
corporation, *
*
Defendant. *

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COMES NOW the Defendant, ProBush.com, and does hereby respectfully submit it’s
Answer to the Plaintiff's Complaint, does hereby state and allege as follows:
1.
The Plaintiffs Complaint fails to state a claim upon which relief can be granted.
2.

The Court lacks subject matter jurisdiction and/or personal jurisdiction over this
Defendant.

3.

The Defendant denies each and every matter, allegation, and thing in Plaintiffs
Complaint except as specifically admitted herein. The Defendant admits that it owns and
operates the ProBush.com website, and that Senator Abourezk, a public figure, is included with
more than one hundred other celebrities, politicians, and other public figures on the website’s
satirical and politically expressive “Traitor List.”

4.

As to the remaining facts, allegations, and legal claims set forth in Plaintiffs Complaint,
Case 4:03-cv-04146-LLP Document12 Filed 03/31/04 Page 2 of 4 PagelD #: 147

these Defendants specifically deny such facts, allegations, and legal claims, and remit the
Plaintiffs to strict proof thereof.
5.

As an affirmative defense, the Plaintiff's claims are barred by the First and Fourteenth
Amendments to the United States Constitution, and Article VI, § 5 of the South Dakota
Constitution.

6.
As an affirmative defense, the communication is question is not defamatory.
7.

As an affirmative defense, the communication in question does not contain a provably
false connotation.

8.

As an affirmative defense, the communication in question cannot reasonably interpreted
as stating actual facts about the Plaintiff.

9,

As an affirmative defense, the communication in question is constitutionally protected
political speech, rhetorical hyperbole, vigorous epithet, and/or parody.

10,

As an affirmative defense, the communication in question was a statement of opinion
relating to matter of public concern.

ii,

As an affirmative defense, the communication in question was privileged under the law.
12.

As an affirmative defense, the plaintiff is a public figure for First Amendment purposes.
Case 4:03-cv-04146-LLP Document12 Filed 03/31/04 Page 3 of 4 PagelD #: 148

13.
As an affirmative defense, the communication in question was not made with actual
malice as defined under First Amendment jurisprudence.
14.
As an affirmative defense, the Plaintiff's claims are completely barred by controlling
United States Supreme Court precedent.
15.
As an affirmative defense, the Plaintiff's claims are barred by state law.
16.
As an affirmative defense, this action is barred pursuant to SDCL 3-21-8, 9 et seq.
17.
The Defendant denies the nature, extent, and amount of damages claimed by the Plaintiff
and remits the Plaintiff to strict proof thereof.
18.
As an affirmative defense, the Plaintiff has failed to mitigate his damages.
19,
WHEREFORE, Defendant ProBush.com prays that Plaintiff's Complaint be dismissed
with prejudice and that the Plaintiff take nothing. Further, the Defendant moves this Court for an
Order permitting it to recover its costs, disbursements, and attorney’s fees, and such other and

further relief as the Court deems just and proper under the circumstances.
Case 4:03-cv-04146-LLP Document12 Filed 03/31/04 Page 4 of 4 PagelD #: 149

ay pst
Dated this 2 day of March, 2004.

JOHNSON, HEIDEPRIEM, MINER,
MARLOW & JANKLOW, L.L.P.

By Mf arGaws

Ronald A. Parsons, Jr.

P.O. Box 1107

Sioux Falls, SD 57101-1107
(605) 338-4304

Attorneys for the Defendant ProBush.com

DEMAND FOR JURY TRIAL

The Defendant hereby respectfully demands a jury trial on all issues so triable.

Defensa

Ronald A. Parsons, Jr.

CERTIFICATE OF SERVICE

This certifies that a true and correct copy of the foregoing Defendant ProBush.com’s
Answer and Jury Trial Demand was served by first class mail, postage prepaid, upon the
following:

Todd D. Epp

Of Counsel

Abourezk Law Offices, P.C.
P.O. Box 1164

Sioux Falls, SD 57101-1164

Attorneys for the Plaintiff
”
onthis 7! day of April, 2002.

alin Gow S

Ronald A. Parsons, Jr.

